Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 1 of 10




                  Exhibit 12
             Case 6:24-cv-00187-ADA-DTG         Document 1-12        Filed 04/11/24      Page 2 of 10




                                                             October 5, 2022


ClearCorrect, LLC
Christopher Klaczyk
VP, Head of Regulatory Affairs
21 Cypress Boulevard, Suite 1010
Round Rock, Texas 78665


Re: K220140
    Trade/Device Name: ClearCorrect System
    Regulation Number: 21 CFR 872.5470
    Regulation Name: Orthodontic Plastic Bracket
    Regulatory Class: Class II
    Product Code: NXC
    Dated: September 8, 2022
    Received: September 9, 2022

Dear Christopher Klaczyk:

We have reviewed your Section 510(k) premarket notification of intent to market the device referenced
above and have determined the device is substantially equivalent (for the indications for use stated in the
enclosure) to legally marketed predicate devices marketed in interstate commerce prior to May 28, 1976, the
enactment date of the Medical Device Amendments, or to devices that have been reclassified in accordance
with the provisions of the Federal Food, Drug, and Cosmetic Act (Act) that do not require approval of a
premarket approval application (PMA). You may, therefore, market the device, subject to the general
controls provisions of the Act. Although this letter refers to your product as a device, please be aware that
some cleared products may instead be combination products. The 510(k) Premarket Notification Database
located at https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm identifies combination
product submissions. The general controls provisions of the Act include requirements for annual registration,
listing of devices, good manufacturing practice, labeling, and prohibitions against misbranding and
adulteration. Please note: CDRH does not evaluate information related to contract liability warranties. We
remind you, however, that device labeling must be truthful and not misleading.

If your device is classified (see above) into either class II (Special Controls) or class III (PMA), it may be
subject to additional controls. Existing major regulations affecting your device can be found in the Code of
Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may publish further announcements
concerning your device in the Federal Register.

Please be advised that FDA's issuance of a substantial equivalence determination does not mean that FDA
has made a determination that your device complies with other requirements of the Act or any Federal
statutes and regulations administered by other Federal agencies. You must comply with all the Act's


U.S. Food & Drug Administration
10903 New Hampshire Avenue
Silver Spring, MD 20993
www.fda.gov
        Case 6:24-cv-00187-ADA-DTG             Document 1-12       Filed 04/11/24      Page 3 of 10

K220140 - Christopher Klaczyk                                                                         Page 2


requirements, including, but not limited to: registration and listing (21 CFR Part 807); labeling (21 CFR Part
801); medical device reporting (reporting of medical device-related adverse events) (21 CFR 803) for
devices or postmarketing safety reporting (21 CFR 4, Subpart B) for combination products (see
https://www.fda.gov/combination-products/guidance-regulatory-information/postmarketing-safety-reporting-
combination-products); good manufacturing practice requirements as set forth in the quality systems (QS)
regulation (21 CFR Part 820) for devices or current good manufacturing practices (21 CFR 4, Subpart A) for
combination products; and, if applicable, the electronic product radiation control provisions (Sections 531-
542 of the Act); 21 CFR 1000-1050.

Also, please note the regulation entitled, "Misbranding by reference to premarket notification" (21 CFR Part
807.97). For questions regarding the reporting of adverse events under the MDR regulation (21 CFR Part
803), please go to https://www.fda.gov/medical-devices/medical-device-safety/medical-device-reporting-
mdr-how-report-medical-device-problems.

For comprehensive regulatory information about medical devices and radiation-emitting products, including
information about labeling regulations, please see Device Advice (https://www.fda.gov/medical-
devices/device-advice-comprehensive-regulatory-assistance) and CDRH Learn
(https://www.fda.gov/training-and-continuing-education/cdrh-learn). Additionally, you may contact the
Division of Industry and Consumer Education (DICE) to ask a question about a specific regulatory topic. See
the DICE website (https://www.fda.gov/medical-devices/device-advice-comprehensive-regulatory-
assistance/contact-us-division-industry-and-consumer-education-dice) for more information or contact DICE
by email (DICE@fda.hhs.gov) or phone (1-800-638-2041 or 301-796-7100).

                                                 Sincerely,

                                                  Michael E. Adjodha -S

                                                 Michael E. Adjodha, M.ChE.
                                                 Assistant Director
                                                 DHT1B: Division of Dental and
                                                   ENT Devices
                                                 OHT1: Office of Ophthalmic, Anesthesia,
                                                   Respiratory, ENT and Dental Devices
                                                 Office of Product Evaluation and Quality
                                                 Center for Devices and Radiological Health

Enclosure
Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 4 of 10
  Case 6:24-cv-00187-ADA-DTG       Document 1-12         Filed 04/11/24     Page 5 of 10

                                                    Traditional 510(k) – ClearCorrect System


510(k) Summary                K220140

      Submitter:              ClearCorrect, LLC
                              21 Cypress Boulevard
                              Suite 1010
                              Round Rock, TX 78665

      Contact Person:         Christopher Klaczyk
                              Head of Regulatory Affairs
                              +1 (512) 831-5128
                              christopher.klaczyk@clearcorrect.com

      Date Prepared:          October 1, 2022

      Product Code(s):        NXC (21 CFR 872.5470)

      Device Class:           II    (21 CFR 872.5470)

      Classification Panel:   Dental Devices (DHT1B)

      Classification Name:    Orthodontic plastic bracket (21 CFR 872.5470)

      Common Name             Aligner, Sequential

      Proprietary Name:       ClearCorrect System

      Predicate Device(s):    K143630, Invisalign System, Align Technologies

      Reference Device(s):    K210320, ClearCorrect System, ClearCorrect, LLC
                              K203737, Spark Clear Aligner System, Ormco Corporation

      Device Description:     The aligners of the ClearCorrect System are a sequential
                              series of clear thermoformed orthodontic appliances that,
                              when worn in the prescribed sequence and duration,
                              progressively reposition the teeth. The aligner is an
                              orthodontic appliance intended for intra-oral use. Individual
                              devices will be used between 20 – 22 hours per day for a
                              period ranging from one to three weeks. The corrective
                              forces to align teeth are primarily generated by the difference
                              between the starting tooth position and the planned tooth
                              position defined by the appliance. Features can be added to
                              the aligner that engage with composite resin tooth
                              attachments to improve aligner retention and/or to apply force
                              in directions that cannot be achieved by engaging with tooth
                              surfaces alone.




ClearCorrect, LLC                                                                 Page 1 of 6
  Case 6:24-cv-00187-ADA-DTG       Document 1-12       Filed 04/11/24     Page 6 of 10

                                                  Traditional 510(k) – ClearCorrect System


      Indications For Use:   The ClearCorrect System is indicated for the alignment of
                             teeth during orthodontic treatment of tooth malocclusion.

      Materials:             The ClearCorrect aligners are produced from multi-layer
                             polymer film having the trade name ClearQuartz™. The film
                             consists of one layer of elastomeric polyurethane sandwiched
                             between two layers of rigid co-polyester.

      Technological          A comparison of the indications and relevant technological
      Characteristics:       characteristics between the subject and primary predicate
                             devices is provided in the table that follows.

       Performance Data:     •   Package integrity via simulated transport test per ISTA 2A
                             •   Validation of shelf life per ASTM F1980
                             •   Biocompatibility per the ISO 10993 series standards
                             •   Water absorption testing per ISO 62
                             •   Tensile performance testing per ISO 527-3
                             •   Flexural performance testing per ISO 178
                             •   Impact performance testing per ISO 8256
                             •   Tear resistance testing per ISO 6383-1
                             •   Fatigue resistance testing per ASTM D7774
                             •   Stress relaxation testing
                             •   Dimensional stability per internal methods
                             •   Usability testing per IEC 62366-1
                             •   Software development per IEC 62304

        Conclusions:         The Indications for Use and the technological characteristics of
                             the subject device are largely the same as the primary predicate
                             device. The material of construction and the treatment planning
                             software are identical to the reference predicate device. The
                             subject devices have been determined to be substantially
                             equivalent to the identified predicate devices.




ClearCorrect, LLC                                                               Page 2 of 6
Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 7 of 10
Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 8 of 10
Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 9 of 10
Case 6:24-cv-00187-ADA-DTG   Document 1-12   Filed 04/11/24   Page 10 of 10
